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          Exhibit B
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Dear Judge Torres,

I understand that various individuals may have presented their perspective of my story to your
Honor. However, I believe it is important and crucial for your Honor to hear my story directly
from me. I am 45 years old and have held various roles in my life: daughter, wife, mother, sister,
employee, and a member of a Chinese democracy movement.

I was born in the beginning of the “One Child Policy” in China. After I was born, my parents had
a daughter, and later a son. Due to the extremely harsh consequences of this Policy, my sister was
murdered minutes after birth. My parents decided to keep my brother because, at the time, it was
customary to believe that boys would later provide for the family and continue the bloodline, but
my parents faced heavy fines and workplace demotions because they kept him.

My sister’s death left a lasting impact on my mother, who was deeply affected for the rest of her
life. She passed away from lung cancer when she was only forty-nine years old. I truly believed
that her death was a result of lifelong trauma from my sister’s death. However, several years after
my mother passed away, my father was diagnosed with the identical type of cancer that my mother
had, and he passed away at sixty-one years old. Around the time that my parents passed away,
several people from my community were diagnosed with different cancers. I realized that both of
my parents’ cancer was likely caused by environmental exposure to toxins associated with coal
mining. In my hometown, coal mining was the primary source of income. Running water was
typically limited to two to three hours per day, the sky was always gray, the air was never fresh,
and there was always a black residue on everything.

In 2000, I met my husband in college. He was my first boyfriend, and I was his first girlfriend.
He was calm, quiet, respectful, and humble traits often associated with a good Chinese
upbringing. We became to be best friends, and did everything together, such as attending college
and planning our future. This all ended in 2016, when the Chinese National Security Agents and
Police arrested him, in effort to coerce me to return to China. The Chinese Community Party
(“CCP”) solely wanted me because they were targeting Mr. Miles Guo, and my employer Beijing
Pangu Investment LTD, headquartered in Beijing. Despite having not been accused of any crime,
my husband was detained more than twelve hours, compelled to sign documents without having
an opportunity to read them, and required to sign blank documents with just a signature line. After
his release, he was mandated to report to the Police after any attempt that I made to contact him.
Two years later, after their unsuccessful attempt to lure me back to China, they forced my husband
to divorce me. At this time, my son, who was our only child, was just five years old.

After the CCP compelled my husband to divorce me, the Chinese National Security Agents and
Police redirected their focus and pressure onto my brother. He has been under close surveillance
for years, even while he served as my father’s sole caretaker. In 2022, my brother was arrested, and
his home was raided. While in his early thirties, presumably from the stress from the arrest, the raid,
and from previously having managed my father's care, led my brother to develop diabetes and
hypertension. When my grandfather had a stroke, I became his caretaker, for over one year, until
he passed away. I know firsthand how demanding and stressful such a role is. My brother now
depends on medication and will likely need it for the rest of his life. My younger brother took on
numerous family responsibilities, especially while I was in the United States. I saw him as having



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matured into a remarkably responsible man. I often thought that he was the person who truly
inspired me to be strong and pursue what I believe in life after my father had passed away.

I always thought of myself as a hard worker. While a full-time college student in China, I tutored
three children simultaneously, using my spare time to transport them between their homes and
our campus, aiming to alleviate some financial pressure on my parents. While a full-time college
student in France, I worked as a waitress, a sushi chef, and a personal tutor. Looking back at my
college days, I did not have any free time, and always found myself either studying or working.

My first full-time job after college was with Beijing Pangu Investment LTD (“Pangu”), a company
owned by Mr. Miles Guo’s family, and I worked there for over a decade. Pangu operated a high-
end complex in Beijing (“Pangu Plaza”), which consisted of offices, condominiums, hotel, and
several restaurants. I was initially hired as a secretary and translator for the owners. I was later
promoted to the director of international relations. I worked long hours, very fast paced, and had
little work life balance. However, I accepted this type of employment because I wanted to earn a
living, support my entire family, be able to put money aside for my son’s education and
unforeseen familial medical expenses. Pangu always treated me well and even doubled my paid
maternity leave. When I made the decision to quit and raise my son, they told me if I want to
return, they will immediately hire me back, and they did.

In 2015, Pangu sent me and a few colleagues on an extended business trip to New York, with
plans to return home in three to six months. Things took an unsettling turn when I discovered that
the CCP had sent Police and National Security Agents to Pangu Plaza. They began arresting
several family members and employees, and the arrests continued to escalate over the following
months. In September 2015, I went to Hong Kong from New York to look for an opportunity to
return home. By the end of 2015, one of my expatriated colleagues went back to Beijing and was
immediately arrested when he landed. Between 2015 and 2016, I traveled between Hong Kong,
New York, and London, patiently waiting to return home under extreme fear that if I returned
home, I would be arrested by the CCP. By July 2017, two months after I left Hong Kong for New
York, one of our Hong Kong colleagues was kidnapped and covertly transported back to China.
Since then, I have not left the United States. During this time, my family was worried about me
and told me not to return and to stay safe.

Between 2017 and 2018, I went through some of the toughest times of my life. I was overwhelmed
by multiple crises: my father's illness, mounting pressure on my husband and brother from the
CCP, and fear that my family and I will be arrested or persecuted. Three months after my father's
death, I was hospitalized with a stomach tumor. Although the diagnosis was inactive cancer, I
faced severe bleeding and a significant drop in hemoglobin levels, which required multiple blood
transfusions before the tumor could be removed.

Around this time, our Chinese democracy movement, also known as the whistleblower movement,
had emerged, making me a direct target of the CCP. They hacked into my electronic devices daily,
inundating the internet with misinformation, doctored photos, and false audio. I would wake up to
seeing manipulated photographs of my family posted on the internet, to include photographs of
my four-year-old son. Anything that I saved on my phone was at risk of being leaked. It was
extremely heartbreaking not even being able to keep a photo of my son. I lost access to both my
Chinese and Hong Kong bank accounts, and I believe the CCP was responsible for this. My


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medical records were hacked and published on the internet. I would sometimes be stalked by
Chinese individuals. The conditions became so harsh that I had to obtain a permanent order of
protection in the Supreme Court, Civil Term, New York County, against a male Chinese
individual who was one of the individuals who had “doxxed” and stalked me for several years.
In addition to my standard salary package with my employer, the business owned by Mr. Guo’s
family, they provided me with personal security protection and transportation. After my father
passed away, Pangu helped my brother bury my father. Similarly, when I was in the hospital for
tumor surgery, Mr. Guo’s daughter, Mei, managed my personal affairs, was by my side daily,
and became one of my best friends. My employer treated me like family, and that is why, in
addition to working as hard as I can, I developed a great amount of loyalty to them.

I do not want to excuse the poor choices I made, but I do think it is important for your Honor to
understand the many traumatic things that were going on in my life at this time, which affected
my judgement. I believed my employer was helping me during these traumatic times in my
personal life. My job was my only real social outlet at the time. I now recognize that I should have
asked more questions and said no, but at the time, given everything else that was going on, my
job became my whole world.

My intent has never been to cause harm, and I have a deep understanding of the value of hard-
earned money, reflected in my deep empathy and regret for the victims who have suffered
significant financial loss in this case. I understand that others’ missed opportunities and losses are
irreplaceable and recognize my own struggles with vulnerability. I am extremely saddened and
apologetic that, because of us, the investors lost thirty-million dollars in the Haymen Fund. I am
just as upset that the investors lost GTV, the very first pro-democracy anti CCP media outlet. I
hold the U.S. legal system in high regard and have committed myself to understanding and
adapting to its practices. I am appreciative of the protections and opportunities provided by the
U.S. and am resolute in my commitment to making amends and addressing my errors.

I understand your Honor may have limited verification about me, by reading this letter, my only
ID -- Chinese passport is just expired. From 2015 to now, the CCP has targeted me for almost 10
years, which caused me to become homeless and stateless. Experience is defined not only by what
happens to me, but how I respond to it. I believe that one day, when my son is grown up, he will
search the world to try and find any information about me. I will not, and I can not, let him down.
If given the chance to address my mistakes and make amends, and as my grandfather and father
taught me, it is essential to rise after falling – I am committed to doing just that.Thank you, your
Honor, for taking your time to read my story.

Sincerely,



Yanping Wang


DATED: September 30, 2024




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